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                                                                                    December 3, 2012

Honorable Sandra L. Townes
United States District Judge
Eastern District of New York
225 Cadman Plaza
Brooklyn, NY 11201

Re: United States v. Jonathan Braun

Dear Judge Towns:

This letter is to respectfully request that Mr. Braun be allowed to travel to his grandparent’s house
on December 8, 2012 for Chanukah. The address is 145 Saddle River Rd Monsey, N.Y. 10952.

He would like to be able to leave his house at 5:45 pm, and it will take 1 hour and 15 minutes to get
there. It will be over no earlier than midnight and no later than 12:30AM, and with travel time he
will return home by 2:00 am of December 9, 2012. AUSA Steven Tiscione and Probation have no
objection to this request.

If you have any questions do not hesitate to contact me.



                                                             Sincerely,




                                                             John Meringolo, Esq.
